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                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF CALIFORNIA
               BEFORE THE HONORABLE KIMBERLY J. MUELLER




RALPH COLEMAN, et al.,
                                   No. 2:90-cv-00520-KJM-DB
             Plaintiffs,
v.
                                             MINUTES

                                   Date: September 29, 2023
GAVIN NEWSOM, et al.,
                                   Deputy Clerk: C. Schultz
             Defendants.
                                   Court Reporter: Kimberly Bennett
_________________________/

Counsel for Plaintiffs:

Ernest Galvan
Marissa Hatton
Jenny Yelin
Alexander Gourse
Adrienne Pon Harrold
Michael Bien
Lisa Ells
(Greg Gonzalez, Paralegal Assisting Counsel)

Counsel for Defendants:

Paul Mello
Samantha Wolff
Lawrence Cirelli
**Elise Thorn
Namrata Kotwani
Laurel O’Conner
Damon McClain
(Vikashni Pooni, Paralegal Assisting Counsel)
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ENFORCEMENT HEARING (Day 1):
 10:10 a.m.     Attorneys and support staff present as identified
                above. The court and counsel discussed
                housekeeping matters. The court resolved Motions in
                Limine. The court and counsel discussed Plaintiffs’
                request to exclude witnesses. As stated on the
                record, the court ordered that testifying witnesses
                will be excluded from the courtroom until they have
                completed their testimony and are excused from
                these proceedings.
 10:30 a.m.     Mr. Mello presented opening statements on behalf of
                Defendants.
 10:40 a.m.     Mr. Galvan presented opening statements on behalf
                of Plaintiffs.
 10:50 a.m.     Defendants’ Expert, Dr. Erica Greulich, sworn and
                testified on direct. Examination conducted by Mr.
                Cirelli.
 11:55 a.m.     All parties excused for a lunch break.
 12:55 p.m.     Court back in session. All parties present. Mr.
                Cirelli continued the direct examination of Dr.
                Greulich.
 2:20 p.m.      All parties excused for an afternoon break.
 2:40 p.m.      Court back in session. All parties present. Mr.
                Cirelli continued the direct examination of Dr.
                Greulich.
 4:10 p.m.      All parties excused for another afternoon break.
 4:30 p.m.      Court back in session. Cross examination of Dr.
                Greulich began. *Examination conducted by Ms.
                Hatton.
 5:00 p.m.      Witness excused for evening recess. All parties
                excused for evening recess. Enforcement Hearing
                (Day 2) set for October 3, 2023 at 9:00 a.m.

EXHIBITS: N/A

TIME IN COURT: 5 Hours, 5 Minutes
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*Minutes Amended on 10/3/2023 to reflect that Ms. Hatton
(opposed to Ms. Yelin) conducted examination of Dr. Greulich
beginning at 4:30 p.m.

**Minutes Amended on 10/3/2023 to reflect that Attorney Elise
Thorn was present for the duration of the proceedings on
10/2/2023.
